Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 1 of 105 Pageid#: 4
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 2 of 105 Pageid#: 5
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 3 of 105 Pageid#: 6
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 4 of 105 Pageid#: 7
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 5 of 105 Pageid#: 8
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 6 of 105 Pageid#: 9
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 7 of 105 Pageid#: 10
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 8 of 105 Pageid#: 11
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 9 of 105 Pageid#: 12
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 10 of 105 Pageid#: 13
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 11 of 105 Pageid#: 14
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 12 of 105 Pageid#: 15
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 13 of 105 Pageid#: 16
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 14 of 105 Pageid#: 17
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 15 of 105 Pageid#: 18
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 16 of 105 Pageid#: 19
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 17 of 105 Pageid#: 20
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 18 of 105 Pageid#: 21
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 19 of 105 Pageid#: 22
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 20 of 105 Pageid#: 23
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 21 of 105 Pageid#: 24
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 22 of 105 Pageid#: 25
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 23 of 105 Pageid#: 26
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 24 of 105 Pageid#: 27
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 25 of 105 Pageid#: 28
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 26 of 105 Pageid#: 29
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 27 of 105 Pageid#: 30
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 28 of 105 Pageid#: 31
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 29 of 105 Pageid#: 32
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 30 of 105 Pageid#: 33
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 31 of 105 Pageid#: 34
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 32 of 105 Pageid#: 35
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 33 of 105 Pageid#: 36
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 34 of 105 Pageid#: 37
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 35 of 105 Pageid#: 38
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 36 of 105 Pageid#: 39
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 37 of 105 Pageid#: 40
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 38 of 105 Pageid#: 41
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 39 of 105 Pageid#: 42
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 40 of 105 Pageid#: 43
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 41 of 105 Pageid#: 44
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 42 of 105 Pageid#: 45
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 43 of 105 Pageid#: 46
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 44 of 105 Pageid#: 47
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 45 of 105 Pageid#: 48
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 46 of 105 Pageid#: 49
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 47 of 105 Pageid#: 50
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 48 of 105 Pageid#: 51
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 49 of 105 Pageid#: 52
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 50 of 105 Pageid#: 53
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 51 of 105 Pageid#: 54
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 52 of 105 Pageid#: 55
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 53 of 105 Pageid#: 56
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 54 of 105 Pageid#: 57
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 55 of 105 Pageid#: 58
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 56 of 105 Pageid#: 59
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 57 of 105 Pageid#: 60
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 58 of 105 Pageid#: 61
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 59 of 105 Pageid#: 62
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 60 of 105 Pageid#: 63
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 61 of 105 Pageid#: 64
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 62 of 105 Pageid#: 65
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 63 of 105 Pageid#: 66
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 64 of 105 Pageid#: 67
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 65 of 105 Pageid#: 68
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 66 of 105 Pageid#: 69
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 67 of 105 Pageid#: 70
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 68 of 105 Pageid#: 71
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 69 of 105 Pageid#: 72
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 70 of 105 Pageid#: 73
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 71 of 105 Pageid#: 74
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 72 of 105 Pageid#: 75
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 73 of 105 Pageid#: 76
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 74 of 105 Pageid#: 77
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 75 of 105 Pageid#: 78
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 76 of 105 Pageid#: 79
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 77 of 105 Pageid#: 80
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 78 of 105 Pageid#: 81
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 79 of 105 Pageid#: 82
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 80 of 105 Pageid#: 83
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 81 of 105 Pageid#: 84
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 82 of 105 Pageid#: 85
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 83 of 105 Pageid#: 86
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 84 of 105 Pageid#: 87
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 85 of 105 Pageid#: 88
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 86 of 105 Pageid#: 89
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 87 of 105 Pageid#: 90
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 88 of 105 Pageid#: 91
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 89 of 105 Pageid#: 92
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 90 of 105 Pageid#: 93
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 91 of 105 Pageid#: 94
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 92 of 105 Pageid#: 95
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 93 of 105 Pageid#: 96
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 94 of 105 Pageid#: 97
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 95 of 105 Pageid#: 98
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 96 of 105 Pageid#: 99
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 97 of 105 Pageid#: 100
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 98 of 105 Pageid#: 101
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 99 of 105 Pageid#: 102
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 100 of 105 Pageid#:
                                     103
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 101 of 105 Pageid#:
                                     104
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 102 of 105 Pageid#:
                                     105
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 103 of 105 Pageid#:
                                     106
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 104 of 105 Pageid#:
                                     107
Case 3:20-cv-00075-TTC-JCH Document 1-1 Filed 12/04/20 Page 105 of 105 Pageid#:
                                     108
